
666 S.E.2d 124 (2008)
Rita Rochelle MILES
v.
Kevin KOON and Encircle, LLC.
No. 287P08.
Supreme Court of North Carolina.
August 26, 2008.
Joe T. Millsaps, Ashley E. Bratton, Charlotte, for Miles.
Edward J. McNaughton, Gregory L. Shelton, Charlotte, for Koon, et al.

ORDER
Upon consideration of the petition filed on the 18th day of June 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
